            Case 6:16-cv-02057-JR     Document 1       Filed 10/26/16   Page 1 of 4




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                            UNITED STATES DISTRICT COURT
                                  DISTRICT OF OREGON
                                    EUGENE DIVISION

                                                 Case No.: 6:16-cv-2057
LEANDRA SCHNEIDER,
                                                 COMPLAINT;
               Plaintiff,
                                                 FAIR DEBT COLLECTION PRACTICES
       vs.                                       ACT (15 U.S.C. § 1692a, et seq.);

JTM CAPITAL MANAGEMENT,                          DEMAND FOR JURY TRIAL
LLC,
               Defendant.
                                   I. INTRODUCTION

       1.      This is an action for damages brought by an individual consumer for

Defendant’s violations of the federal Fair Debt Collection Practices Act, 15 U.S.C. § 1692,

et seq. (hereinafter “FDCPA”).

                                    II. JURISDICTION

       2.      Plaintiff’s claim for violations of the FDCPA arises under 15 U.S.C. §

1692k(d), and therefore involves a “federal question” pursuant to 28 U.S.C. § 1331.

                                       III. PARTIES

       3.      Plaintiff, Leandra Schneider (“Plaintiff”), is a natural person residing in Lane
                                       Complaint – Page 1
            Case 6:16-cv-02057-JR     Document 1       Filed 10/26/16   Page 2 of 4




County, Oregon.

       4.      Defendant, JTM Capital Management, Inc. (“Defendant”), is a corporation

engaged in the business of collecting debts by use of the mails and telephone. Defendant

regularly attempts to collect debts alleged due another.

                            IV. FACTUAL ALLEGATIONS

       5.      Defendant is a “debt collector” as defined by the FDCPA, 15 U.S.C. §

1692a(6).

       6.      Plaintiff is a “consumer” as defined by the FDCPA, 15 U.S.C. § 1692a(3).

       7.      All activities of Defendant set out herein were undertaken in connection with

the collection of a “debt,” as defined by 15 U.S.C. § 1692a(5).

       8.      Within the last year, Defendant took multiple actions in an attempt to collect

a debt from Plaintiff. Defendant’s conduct violated the FDCPA in multiple ways, including

the following.

       9.      Threatening to take an action or actions that cannot be legally taken or that

Defendant did not intend to take, including falsely threatening legal action by and through

Defendant’s agent, Northeastern Asset Recovery Group, Inc. (§ 1692e(5)).

       10.     Where Defendant had not yet made an attempt to contact Plaintiff’s counsel

or had not given Plaintiff’s counsel sufficient time to respond to the initial attempt to

communicate with Plaintiff’s counsel, and where Plaintiff’s counsel had not given

Defendant permission to contact Plaintiff directly, communicating with Plaintiff directly

after learning that Plaintiff is being represented by counsel (§ 1692c(a)(2)).


                                       Complaint – Page 2
            Case 6:16-cv-02057-JR     Document 1       Filed 10/26/16   Page 3 of 4




       11.     As a result of the aforementioned violations, Plaintiff suffered and continues

to suffer injuries to Plaintiff’s feelings, personal humiliation, embarrassment, mental

anguish and severe emotional distress.

       12.     Defendant intended to cause, by means of the actions detailed above, injuries

to Plaintiff’s feelings, personal humiliation, embarrassment, mental anguish and severe

emotional distress.

       13.     Defendant’s actions, detailed above, were undertaken with extraordinary

disregard of, or indifference to, known or highly probable risks to purported debtors.

       14.     To the extent Defendant’s actions, detailed above, were carried out by an

employee of Defendant, that employee was acting within the scope of his or her

employment.

   COUNT I: VIOLATION OF FAIR DEBT COLLECTION PRACTICES ACT

       15.     Plaintiff reincorporates by reference all the preceding paragraphs.

       16.     The preceding paragraphs state a prima facie case for Plaintiff and against

Defendant for violations of the FDCPA.

                                 PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully prays that judgment be entered against the

Defendant for the following:

       A.      Declaratory judgment that Defendant’s conduct violated the FDCPA;

       B.      Actual damages pursuant to 15 U.S.C. 1692k;

       C.      Statutory damages pursuant to 15 U.S.C. § 1692k;


                                       Complaint – Page 3
           Case 6:16-cv-02057-JR     Document 1       Filed 10/26/16   Page 4 of 4




      D.      Costs, disbursements and reasonable attorney’s fees for all successful claims,

and any unsuccessful claims arising out of the same transaction or occurrence as the

successful claims, pursuant to 15 U.S.C. § 1692k; and,

      E.      For such other and further relief as may be just and proper.

               PLAINTIFF HEREBY REQUESTS A TRIAL BY JURY



                                               Dated this 26th day of October, 2016.


                                                   By:__s/Joshua Trigsted_____
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                                      Complaint – Page 4
